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CITY OF NEW YORK

DEPARTMENT OF CONSUMER AFFAIRS
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DEPARTMENT OF CONSUMER AFFAIRS, |
| CONSENT ORDER
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Complainant, | PROCESS SERVER
; INDIVIDUAL
-against- | License # 1071492

BENJAMIN S. LAMB

Violation No. LL005287583

Respondent.

xX

BENJAMIN S. LAMB (“Respondent”) consents to this Consent Order (““CO” or
“Agreement”) to settle the above-captioned matter with the Department of Consumer
Affairs (“DCA” or “the Department”) and agrees as follows:

I.

A.

DEFINITIONS

“Affidavit of Service” or “Proof of Service” means a sworn statement in writing
made under oath before a public notary in which the process server affirms that
service of process in a matter was effectuated, the manner in which service was
effectuated and other sworn statements.

“Bound volume” means a book, logbook, process server record or ledger that, at the
time of purchase, contains a specified number of unfolded sheets of paper or other
material that are permanently secured to covers by stitching, glue such other method
that is calculated to make readily discernable the removal or inclusion of one or more
sheets after the first use of such volume.

means that each notation shall be entered consecutively in order of date and time and
that no blank spaces shall be left allowing the entry of an additional notation between
any two notations.
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D. “Contemporaneous” with respect to the entry of an event in a record or logbook
means that each entry shall be made at or about the time as the act with respect to
which the entry is made.

E. A “contest to service of process” means a challenge to the service of process
effectuated by a process server alleged in an answer, motion, or other pleading
submitted in a judicial, administrative or other legal proceeding on the ground that the
service did not comply with the requirements of New York State or other applicable
law, including a hearing commonly known as a “traverse hearing,” whether such
challenge is waived, settled by stipulation or decided by court order after a hearing.

F. “CPLR” means the New York Civil Practice Law and Rules.

G. “Disposition” of a case or traverse hearing means the court’s final decision on the
matter.

H. “Due diligence” in delivering process shall mean that three or more reasonable efforts
were made to locate and deliver process personally to the person(s) to be served
within the State.

1. “Logbook” shall mean the bound volume in which a process server maintains records
of all attempted and effected services of process, as prescribed by 6 RCNY § 2-233.

J. “Material breach” means the failure to comply with this Agreement in whole or in
part by commission or omission without legal excuse.

K. “Paginated” means each page in the volume or logbook must contain either a page
number in sequence starting with the number “1” at the time of purchase or an
indelible label stating the number of pages the volume originally contained.

L. “Person” shall mean any individual, firm, company, partnership, corporation,
association or other organization.

M. “Process” means a summons, notice of petition, order to show cause, subpoena,
notice, citation or other legal paper issued under the laws of the State of New York
directing an appearance or response to a legal action, legal proceeding or
administrative proceeding; provided, however, that if under the laws of the State of
New York the mailing of such legal paper is sufficient to effect service, such legal
paper shall not be process for the purpose of this Agreement.

N. “Reasonable efforts” means that attempts to serve process are made at times, dates or
locations the Respondent knows the person to be served could reasonably be found.
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I.

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“Reasonable efforts to effectuate service by personal delivery” means that the
Respondent shall attempt personal delivery more than once and that he/she shall
deliver process by conspicuous place service only after the third attempt to find the
person to whom service must be delivered.

“Reasonable efforts to locate” means that Respondent has made reasonable attempts
to locate the person to be served and confirmed the address or Jocation by dependable
sources before delivering process.

“Same time” with respect to efforts to make delivery means within two hours before
and after of an hour.

“Serve” or “service” shall mean the delivery of process in a manner prescribed by the
laws of the State of New York.

Other terms are defined in 6 RCNY § 2-231,
INJUNCTIVE RELIEF

Duty to Comply With Law

Respondent shall strictly and promptly comply with all laws, rules, regulations and
requirements of the federal, state and municipal authorities and this Agreement when
serving process.

Duties When Effectuating Service on a Natural Person

When effectuating service of process by conspicuous place service, Respondent shall
affix the process to be served to the door of the person to be served and to no other.

When effectuating service of process by conspicuous place service, Respondent shall
at all times attach the process to the dwelling place door of the person to be served
with tape.

When making diligent efforts to deliver process in accordance with the requirements
of CPLR § 308, all attempts of service shall not be made on the same day and no two
attempts at delivery shall be made at the same time on different days.

Respondent shall make reasonable efforts to confirm whether the address at which
service is attempted is the actual place of business, dwelling place or usual place of
abode of the person to be served. Respondent shall make and maintain a record of
those efforts, which shall include, but not be limited to, at least one of the following:
inquiring of neighbors and other persons present at those locations, checking public
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and commercial databases, and requesting information from the owner of the
premises, if different from the person to be served.

Respondent shall not deliver process at a location that he knows not to be the actual

place of business, dwelling place, or usual place of abode of the person to be served,
unless permitted by statute or by binding case law.

Respondent shall always write “personal and confidential” on the mailing envelope
when delivering or completing service by mail to a business address.

Respondent shall insure that any mailing is made to the location indicated by the
applicable law.

Respondent shall not indicate on mailing envelopes that the communication is from
an attorney or concerning an action against the person sought to be served.

Duty to Maintain Proper Records

10) Respondent shall maintain records of attempted and effected service of process in the

City of New York as required by General Business Law § 89-cc and 6 RCNY §§ 2-
233, 233a, 233b, 235.

Affidavits of Service

11) Respondent shall maintain electronic copies of all affidavits of service signed by

him/her. Each affidavit of service shall be maintained as a separate electronic file and
the electronic files shall be maintained chronologically and named in the following
manner:

Example: smithj-20120101-1

Process Server Last Name and First Initial (no spaces)-

Date of Service (YY YYMMDD)-

Unique Identifying Number (to distinguish between multiple services on the
same date).

Logbooks

12) Respondent shall maintain a record of all service attempted or effected by him/her in

the City of New York in a bound volume, which shall mean a book or ledger that at
the time of purchase contains a specified number of unfolded sheets of paper or
other material that are permanently secured to covers by stitching, glue, or any other
such method that is calculated to make readily discernable the removal or insertion of
one or more sheets after the first use of such volume. The bound volume is often
referred to as the process server’s logbook.
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13) All service attempted or effected by Respondent in the City of New York shall be
entered in a single logbook until it is complete.

14) Respondent shall ensure that each page in his/her logbook, at the time of purchase,
is sequentially numbered starting with the number "1" or contains an indelible label
stating the number of pages the volume originally contained.

15) All entries shall be made contemporaneously, which shall mean at or near the time of
the event as to which an entry is recorded, or within a reasonable time thereafter.

16) All entries shall be made in chronological order, which shall mean that each entry be
entered sequentially according to the time and date of the activity recorded and
without leaving any blank spaces between each entry that would allow for the
insertion of any additional notation between any two entries..

17) Each entry in the logbook shall be legible, meaning easily read and discernible in all
of its details, and in no way obscured.

18) Corrections shall be made only by drawing a straight line through the inaccurate entry
and clearly printing the accurate information directly above the inaccurate entry. All
other methods of correction, including but not limited to, erasing, opaquing,
obliterating, or redacting, are prohibited.

19) Respondent shall maintain separate entries in each logbook for every attempted and
effected service of process (i.e, entries for attempted and effected services cannot be
combined on the same line).

20) Respondent shal] maintain in his/her hardcopy logbooks all information required by
General Business Law § 89-cc and 6 RCNY § 2-233 with respect to every case in
which he/she attempts or effectuates service of process, including but not limited to
the following:

a. the name and license number of the process serving agency from whom the
process served was received, or, if not received from a process serving agency, of
such other person or organization from whom the process served was received

b. the title of the action (if there is one) or a reasonable abbreviation thereof

c, the name of the individual, company or organization served, if known

d. the date and approximate time service was effected

e. the address where service was effected

f. the nature of the papers served
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g. the court in which the action has been commenced

h. the index number of the action, if known

i. the description of the individual served, if applicable

j. the type of service effected (personal, substituted, conspicuous, or corporate)

k. for service of process effected by conspicuous service, the color and
composition of hallway walls adjacent to the door to which process was affixed

|. for service of process effected by conspicuous service, the color and
composition of the hallway floor or doorstep

m. for service of process effected by conspicuous service, the location of the
premises in relation to stairs, elevators or entranceways

n. for service of process made pursuant to RPAPL § 735(1) using registered or
certified’ mail, the postal receipt number of the registered or certified mail

Electronic Records and GPS

21) Respondent shall maintain records of attempted and effected service of process in the
City of New York in an electronic format that is resistant to tampering, as prescribed
by 6 RCNY § 2-233a(a).

22) Respondent shall maintain the electronic records that are required to be maintained
pursuant to 6 RCNY § 2-233a by choosing one of the following methods:

Method 1: Scanning logbooks into image files (e.g., .PDF or .TIFF) and

backing up the files to a portable media device in accordance with 6
RCNY § 2-233a(a)(1).

Method 2: Inputting information into the DCA-created Excel spreadsheet
(available on the DCA website) and backing up the file to portable media
devices in accordance with 6 RCNY § 2-233a(b)(1).

Method 3: Uploading data to a third party service provider in accordance
with 6 RCNY § 2-233a(b)(1).

23) If Respondent chooses to maintain electronic records by using Methods 2 or 3,
Respondent shall ensure that the following information is contained in each entry:
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a. the name of the individual process server to whom service was assigned,
entered in two fields (last name, first name)

b. the license number of the individual process server to whom service was
assigned, entered as a seven digit number, where the first number is zero if the
process server's license number is less than seven digits

c. the title of the action or proceeding, if any

d. the name of the individual, company or organization served, if known
e. the date that service was effected, entered as MM/DD/YYYY

f. the time that service was effected, entered as military time

g. the address where service was effected, entered as three different fields such
that
one field will be for the street address and any apartment number, the second field
will be for the city or borough, and the third field will be for zip code

h. the nature of the papers served

i. the court in which the action was commenced, entered as either Civil Court
NYC,

Civil Supreme, Criminal, Housing(L/T), or District Court, followed by the county
of the court, the judicial department if appellate, or the federal district

j. the full index number, entered with all information necessary to identify the
case,

such as XXXXX/XX, unless the case is a Civil Local matter, in which case, it will
include the prefix of CV, CC, LT, MI, NC, RE, SC, or TS

k. if service was effected pursuant to subdivisions (1) through (3) of CPLR §308,
a

description of the person served, consisting of six fields, including sex, hair color,
approximate age, height, weight, and any other identifying features provided by
the process server

|. whether service was delivered, as indicated by a Y or N
m. the type of service effected, entered as a P for personal service, an S for

substitute
service, a C for conspicuous service, or a CO for corporate service
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n. if service was effected pursuant to subdivision (4) of CPLR §308 or
subdivision
one of RPAPL §735, a description of the door and the area adjacent

24) In every instance in which Respondent attempts or effects service of process in New
York City, Respondent shall, immediately after attempting or effecting service, create
an electronic record of the location, time and date of the attempted or effected service,
as determined by Global Positioning System (“GPS”) technology or, in the event that
no GPS signal is available at the time of attempted or effected service of process, the
location, time and date as determined by triangulated cell tower signals.

25) Except when Respondent attempts or effects service of process at multiple apartments
or offices within the same building, in every instance in which Respondent attempts
or effects service of process in New York City, Respondent shall ensure that his/her
GPS records include a photograph of the outside of the building where Respondent
attempted or effected service of process. The photograph must include the entire
front entrance door to the building, which shall take up no more than one-third of the
photograph. The photograph should include, if possible, the number of the building
as well. If Respondent attempts or effects service of process at multiple apartments
or offices within the same building, only the GPS record corresponding to the last
attempted or effected service of process within the building must include a
photograph of the outside of the building where Respondent attempted or effected
service of process. Where Respondent is unable to obtain a GPS or cellular signal in
the direct vicinity of the building where process was attempted or effected,
Respondent shall, as soon as a GPS or cellular signal becomes available:

a. take a photograph of the outside of the nearest building in accordance with the
instructions above; and

b. indicate in the GPS record the address of the photographed building or the
nearest cross-section.

26) Prior to signing this Consent Order, Respondent shall enter into a contract with an
independent third party (“the Contractor”) pursuant to which the Contractor will
provide services and perform functions described below that enable Respondent to
meet the data storage and retrieval requirements set forth below, provided, however,
that if Respondent performs process serving activities distributed to him or her by a
licensed process serving agency, the process server may utilize the device and
facilities for the electronic record of service that the process serving agency obtains
under a contract with a Contractor. Respondent shall ensure that the Contractor store
each electronic record of service according to the following terms:

a. the original digital file must be maintained by the Contractor unaltered for a
period of not less than seven years;
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b. neither Respondent nor the process serving agency will be permitted to alter
the original data, but may obtain copies of the original data file;

c. the Contractor must maintain the records in a manner that will permit retrieval
by the DCA license number of the process server, the DCA license number of the
process serving agency that has distributed the process for service, the name of
the plaintiff or petitioner, the name of the defendant or respondent, the docket
number (if any), the name of the person to whom process is delivered and a
unique file identifier of the process being served;

d. the Contractor must maintain the records in a manner that will ensure that their
integrity is adequate for admissibility in a judicial proceeding under the rules of
evidence applicable in the state of New York;

e. the Contractor must produce upon request by the Department, and to any other
party according to an appropriate order or subpoena, a copy of the electronic
records, or any reasonably described part involved, certified to be true and -
accurate;

f. the Contractor must provide to the Department upon request a street map in
hard copy format and access to an interactive electronic street map that display
the locations where the digital records were recorded with a date and time
provided by GPS or cellular date and time;

g. the Contractor must provide to the Department upon request, and to any other
party according to an appropriate order or subpoena, such software as may be
necessary to display the electronic records in an MS Excel spreadsheet, 2003
version or later, with the following fields and in the following data formats:

a unique file identifier of the process being served;

the process server’s license number;

the process serving agency’s license number;

Plaintiff or petitioner, which must be specified by the last name of the first

plaintiff, or, if not a natural person, the name of the entity, except that the field

may contain the name of every plaintiff or petitioner in the case, provided that
the entire record is searchable by a wildcard search of the name of any
plaintiff or petitioner;

e Defendant or respondent, which must be specified by the last name of the first
defendant, or, if not a natural person, the name of the entity, except that the
field may contain the name of every defendant or respondent in the case,
provided that the entire record is searchable by a wildcard search of the name
of any defendant or respondent;

e the full docket/index number, which must be entered with all information

necessary to identify the case, such as XXXXXX/XX, unless the case is a
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Civil Local matter, in which case, it will include the prefix of CV, CC, LT,
MI, NC, RE, SC, or TS;

e the date that service was effected or attempted according to the device,
which must be entered as MM/DD/YYYY;

e the time that service was effected or attempted according to the device,
which must be entered in military time;

e the date that service was effected or attempted according to GPS or cellular
signals, which must be entered as MM/DD/YYYY;

e the time that service was effected or attempted according to GPS or cellular
signals, which must be entered as military time;

e the address where service was effected or attempted, which must consist of
four fields in the following order: building number, street name, city, and zip
code, which must be five digits. All address information must be CASS
(Coding Accuracy Support System) processed to insure its accuracy with
software graded to be CASS Certified by the National Customer Support
Center of the United States Postal Service;

e the name of the intended recipient of the process, which must be entered in
two data fields such that the first data field is the last name of the intended
recipient, or, if not a natural person, the name of the entity, and the second
data field is the first name of the intended recipient if a natural person; and

e the name of the person to whom process was delivered, which must be entered
in two data fields such that the first data field is the last name of the person,
and the second data field is the first name of the person.

Completion of Affidavits and other Proofs of Service

27) Respondent shall strictly and promptly conform to all federal, state and municipal
laws, rules, regulations and requirements relating to the preparation, notarization and
filing of affidavits of service, as required by 6 RCNY § 2-234.

28) Respondent’s affidavits of service shall be truthful, contain all information required
by law, and contain the following facts, where applicable:

a. Respondent’s license number;

b. Except where the process effectuated was not received from a process serving
agency, the name and address of the process serving agency from whom the
process served was received;

c. A detailed description of Respondent’s efforts to effectuate personal delivery
within the State;

d. Respondent’s source of the information about the whereabouts of the person
to be served;

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e. A description of Respondent’s efforts to confirm the information about the
whereabouts of the person to be served;

f. The location and detailed description of the place where delivery was
effectuated;

g. The time that process was delivered;

h. Whether the Respondent made use of a picture or other physical
representations of the person(s) to be served when delivering process;

i. A description of the age, height, weight, skin color, and hair color of the
person to whom delivery of process was made;

j. Whether Respondent knows or does not know the name(s) of the person(s) to
whom service was delivered.

k. The name and description of any witnesses to the delivery of process;

]. Where service of process is accomplished by personal delivery, all
information confirming that Respondent knew the person to whom process
was delivered to be the actual intended recipient of the process; and

m. Where information required is unknown, Respondent shall clearly state so in
the affidavit.

29) Respondent shall not sign or notarize or cause to be signed or notarized any affidavit
of service until all factual averments have been set forth.

30) Respondent shall not sign his/her name on any affidavit containing any information
that has the capacity, tendency or effect of intentionally misleading a reader of the
affidavit.

31) Any affidavit affirmed by Respondent that has the capacity, tendency or effect of
misleading a reader of the affidavit shall be considered intentional if there are
repeated similar acts because of Respondent’s or Respondent’s agent’s use of canned
or form language.

32) It shall be the Respondent’s burden to show that he/she did not intend the affidavit to
be misleading.

33) Respondent shall not use fictitious names in his/her affidavit to refer to defendants or
persons, except when Respondent is unable to obtain the name of the person. Where
Respondent is unable to obtain the first name of the person, Respondent shall use
either “John” (for a male) or “Jane” (for a female) to represent the first name of the
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person. When Respondent is unable to obtain the last name of the person,
Respondent shall use “Doe” to represent the last name of the person.

Duty to Maintain List of Process Server Agencies Assigning Process

34) Respondent shall maintain a list of the name and address of each process serving
agency from whom Respondent received process to be served in New York City. The
process server shall maintain the list for seven (7) years and produce it upon request
by the Department, as required by 6 RCNY § 2-234b.

Duty to Report Contested Service of Process

35) Whenever Respondent receives any type of notice, including an oral communication,
that a court has scheduled a hearing concerning a contest to service of process by
Respondent (a.k.a. “traverse hearing”), Respondent shall submit a report to the
Department, within ten days of receiving such notice, using the traverse report form
annexed as Attachment A (available on the Department’s website). Respondent shal]
submit the completed traverse report form by ~~ e-mail _ to:
traversereports@dca.nyc.gov.

36) Each traverse report form notifying the Department of a scheduled traverse hearing
shall minimally include the following information:

a. The date of the hearing;

b. The name of the court, county, and judge before whom the hearing is scheduled;
c. The index number of the action or proceeding;

d. The name of the petitioner or plaintiff;

e. The name of the respondent or defendant;

f. The process server’s name;

g. The process server’s license number; and

h. The name of the process serving agency on behalf of whom service was
effectuated;

37) Respondent shall learn the result of each scheduled traverse hearing that concerns
service of process by Respondent, including any judicial order, waiver of the hearing
or voluntary settlement resolving the challenge to service of process.

38) Respondent shall obtain a copy of the court’s order or decision on any traverse
hearings that actually occur, including any stipulation or court file jacket setting forth
the final disposition of the matter.

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39) Within ten days of learning the result of a traverse hearing, including any judicial
order, waiver of the hearing or voluntary settlement resolving the challenge to service
of process, Respondent shall notify the Department of the result by submitting a
traverse report to the Department by email, to: traversereports@dca.nyc.gov, using
the report form annexed as Attachment A (will be made available on the
Department’s web site).

40) Respondent shall append a copy of the court’s order or decision on any traverse
hearings that actually occur to Respondent’s traverse report, including any stipulation
or court file jacket setting forth the final disposition of the matter.

41) Respondent and the process serving agency for whom he or she serves process must
each submit a completed Traverse Report Form upon learning of the scheduling of a
traverse hearing and learning the result of a traverse hearing.

42) Respondent shall maintain an electronic record of every traverse hearing scheduled
concerning service of process by Respondent using the form maintained as
Attachment B. All traverse hearings shall be maintained in one Microsoft Excel file
(will be made available on the Department’s website).

Providing Identification

43) Respondent may not possess, display or wear any badges, insignias, shields, medals
or decoration while serving process.

44) Respondent shall display his Department identification card upon request of a person
upon whom Respondent is attempting service or any other interested person.

Training and Exams

45) Respondent shall attend any future training about the laws and regulations that relate
to and govern the service of process in the City of New York upon notice from the
Department that it has determined that there is available within the City of New York
one or more programs that provide such training in a satisfactory manner.

46) Respondent’s failure to provide proof of having attended such training, after notice
has been issued that such training is available, shall be sufficient grounds for the
revocation of his or her license or denial of his or her license renewal application until
such time as this requirement is met.

Inspection of Records

47) Upon notification from the Department, Respondent shall appear at the Department
for a review of Respondent’s compliance with the terms of this Agreement and such
other issues as the Department, in its discretion, deems appropriate. Respondent shall
produce such records as the Department may request at the scheduled meeting.

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Failure to appear at a scheduled meeting or produce requested documents will
constitute a violation of this Order.

Ill. FINES

48) Respondent shall pay a fine of $500 in settlement of all the violations to date in the
above-referenced matter. Payment is due upon execution of this CO.

IV. RESOLUTION OF CONSUMER COMPLAINTS

49) Respondent shall provide to the Department a reply to all consumer complaints to the
Department relating to Respondent’s process serving activity within ten (10) business
days of receiving the complaint.

50) Respondent shal] respond to any subsequent communications from the Department
concerning the complaint within five (5) business days.

51) Nothing in this provision waives or diminishes Respondent’s obligation to comply
with Title 6 of the Rules of the City of New York, Section 1-13.

52) Respondent shall provide to the Department a copy of every written complaint that
Respondent receives from any other governmental or non-governmental entity and
Respondent’s response thereto within ten days of Respondent’s receipt of the
complaint. Respondent shall report to the Department the resolution of every such
complaint and provide a copy of any writing setting forth the resolution within ten
(10) business days of learning such resolution.

V. RESPONDENT’S DUTY TO REPORT CHANGES OF ADDRESS TO THE
DEPARTMENT

53) Respondent affirms that the address and telephone number listed with the Department
are current and correct.

54) Respondent represents that the following is his e-mail address:

@

Respondent acknowledges that the Department intends to use this e-mail address to
communicate official matters to Respondent and Respondent agrees to accept such
communications and respond to them in a timely manner.

55) Respondent shall notify the Department when his or her address, telephone number or
e-mail address changes, in writing, within ten (10) days of such change.

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56) Respondent shall provide such notification in writing to the Department’s Licensing
Division at 42 Broadway, sth Floor, NY, NY 10004 and to the Department’s Legal
Division at 42 Broadway, 9" Floor, NY, NY 10004.

57) Respondent’s failure to notify the Department of any change in address in a timely
manner shall be sufficient grounds for the suspension of any Department license held
by Respondent for a period of not less than three months, upon proof of the failure to
notify the Department of such change and an opportunity to be heard.

58) Respondent’s failure to respond to any Department communication within the period
specified in this Agreement or by law shall be deemed Respondent’s failure to notify
the Department of his or her whereabouts, and shall be sufficient grounds for the
suspension of any or all of Respondent’s Department licenses, upon proof of such
failure to respond and an opportunity to be heard.

VI. RESPONDENT’S DUTY TO RESPOND TO ALL REQUESTS FOR
INFORMATION ON CRIMINAL COMPLAINTS OR ARRESTS

59) Respondent will respond within the time required to any correspondence from the
Department requesting further information on the status or disposition of any criminal
complaints or arrests of Respondent.

60) Respondent’s failure to respond within the time required to any correspondence from
the Department regarding the status or disposition of any criminal complaint or arrest
of Respondent will be considered a breach of this Agreement and shall be sufficient
grounds for the suspension of Respondent’s license, upon proof of such failure and an
opportunity to be heard.

VU. BREACH OF THIS AGREEMENT

61) A finding, after notice and hearing, that Respondent has committed a material breach
of the terms of this Agreement shall be sufficient grounds for the revocation of
Respondent’s license and for ineligibility to be licensed for a period of five (5) years.

62) Specific violations of this Agreement shall constitute independent and separate
violations of any applicable law, regulation or rule.

63) Violations of laws, violations of Department rules and violations of this Agreement
shall be assessed as separate fines, with a maximum penalty of $1,000.00 each.

64) The following conduct shall also be grounds for revocation of any or all of
Respondent’s Department licenses:

a. Respondent’s failure to pay any restitution or fine ordered by the
Department’s administrative tribunal; or

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b. Respondent’s failure to pay any consumer restitution awarded by any other
court or administrative body of competent jurisdiction within thirty days of
Respondent’s receipt of the decision of such court order or the exhaustion of
all appeals there from, whichever is later.

VIL. WAIVER OF APPEALS

65) Respondent waives any right to a hearing, appeal of or any challenge of the facts
alleged by the above-referenced violation under Section 20-104 ofthe New York City
Administrative Code or under Article 78 of the New York State Civil Practice Law
and Rules, Sections 7801-7806, in any forum.

IX. DEPARTMENT’S AUTHORITY

66) Nothing in this Agreement shall be construed to limit in any way the authority of the
Department to exercise its regulatory or enforcement powers under Sections 20-104
or 20-409 of the Code.

Agreed to by Respondent Accepted for the NYC Department of
Consumer A ffairs

Jonathan Mintz,
Commissioner

By: BENJAMIN S. LAMB By: , Esq.

Staff Attorney
Legal Division

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Ay ‘ ¢
Signatire Date Signature Date

9/13/12

Businesses licensed by the Department of Consumer Affairs (DCA) must comply with all
relevant local, state and federal laws. Copies of New York City licensing and consumer
protection Jaws are available in person at DCA’s Licensing Center, located at 42
Broadway, Sth Floor, New York, NY, by calling 311, New York City’s 24-hour Citizen
Service Hotline, or by going online to www.nyc.gov/consumers.

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ATTACHMENT A
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Consumer Affairs

TRAVERSE REPORT FORM FOR PROCESS SERVERS WHO SIGNED A
CONSENT ORDER WITH THE DEPARTMENT

Under New York City law, licensed process servers and process serving agencies must report a
scheduled traverse hearing (hearing contesting service) to the Department of Consumer A ffairs
(DCA) within 10 days of receiving oral or written notice. See Title 6, Rules of the City of New
York § 2-236(a). Licensees may use Part I of this form to report the scheduled hearing. Please
submit this form and any attachments to DCA by e-mailing it to TraverseReports@dca.nyc.gov.

Note: The licensed process server individual and the process serving agency for whom the individual
serves process must each submit a completed Traverse Report Form.

PART I— REPORT OF HEARING

Date of Hearing

Court County

Part Index No,

Judge

Petitioner/Plaintiff Petitioner/Plaintiff's Attorney (include firm's name)
Respondent/Defendant Respondent/Defendant’s Attorney (include firm's name)
Date of Service

Process Server Name DCA License No.

Process Serving Agency Assigning Service

“Indicate Whether This Report is Being Submitted By the Individual Process Server OR the Process Serving Agency

Signature Date

IMPORTANT: Licensed process servers and process serving agencies must report the result of
the traverse hearing to DCA within 10 days of learning it. Licensees may use Part II of this form
to report the result.
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Consumer Affairs

TRAVERSE REPORT FORM FOR PROCESS SERVERS WHO SIGNED A
CONSENT ORDER WITH THE DEPARTMENT

PART II —- REPORT OF RESULT

The licensed process server individual shall learn the result of each scheduled traverse hearing
that concerns service of process by him or her, including any judicial order, waiver of the hearing
or voluntary settlement resolving the challenge to service of process.

The licensed process server individual shall also obtain a copy of the court’s order or decision on
any traverse hearings that actually occur, including any stipulation or court file jacket setting
forth the final disposition of the matter.

Within ten days of learning the result of a traverse hearing, the licensed process server shall
notify the Department of the result by submitting this traverse report, by e-mail, to
traversereports@dca.nyc.gov. The licensed process server shall append a copy of the court’s
order or decision to the e-mail.

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Traverse was:

0 Sustained (improper service)
0 Overruled (proper service)

0 Decision Reserved

() Settled

Signature / 7 Date

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ATTACHMENT B
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